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 7                                    UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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10    CHRIS ECKHARDT,                                    No. 2:22-cv-01747 KJM AC
11                       Plaintiff,
12            v.                                         ORDER
13    DYNAMIC GAMING SOLUTIONS,
      LLC,
14
                         Defendant.
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17          The court is in receipt of plaintiff’s ex parte request to participate in electronic filing

18   pursuant to Local Rule 133(b)(3). ECF No. 36. The court has reviewed the filing and, upon

19   finding good cause, GRANTS this motion. The clerk of court is hereby ORDERED to make the

20   necessary arrangements to allow plaintiff to participate in electronic filing for this case.

21          The court is also in receipt of plaintiff’s ex parte motion to submit supporting evidence on

22   thumb drives. ECF No. 35. This motion is premised on plaintiff’s lack of access to electronic

23   filing and is therefore rendered moot by the order above. The motion at ECF No. 35 is DENIED

24   as MOOT.

25          IT IS SO ORDERED.

26   DATED: May 30, 2024

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